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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

ANTIETAM BATTLEFIELD                            *
KOA, et al.,
                                                *
                  Plaintiffs,
                                                * No. 20-CV-01130-CCB
         v.
                                                *
LAWRENCE J. HOGAN, JR., et al.,
                                                *
                  Defendants.
 *   *        *   *    *    *   *   *   *   *       *    *   *    *   *   *    *   *   *   *

      DEFENDANTS’ RESPONSE TO MEMORANDUM IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER

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May 18, 2020                                            Attorneys for Defendants
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                      DEFENDANTS’ RESPONSE ARGUMENT

       The plaintiffs’ memorandum in support of their motion for a temporary restraining

order gives this Court (and the defendants) the first look at the legal arguments that

plaintiffs offer in support of their claims. Although the defendants anticipated many of

those arguments in their May 8 filing, see ECF 26-1, some aspects of plaintiffs’

memorandum require a brief response, and there have been factual and legal developments

over the past 10 days that the defendants wish to bring to the Court’s attention. Those

developments confirm that plaintiffs are unlikely to succeed on the merits of their claims.

I.     RECENT LEGAL AND FACTUAL DEVELOPMENTS THAT BEAR ON THE
       ISSUES BEFORE THE COURT

       A.     Governor Hogan’s May 13, 2020 Order Further Relaxes the
              Restrictions in the March 30 Stay-at-Home Order.

       On May 13, 2020, Governor Hogan issued his most recent COVID-19 Executive

Order, relaxing aspects of earlier orders and activating Stage One of Maryland’s Roadmap

to Recovery. See Ex. 12 (Order No. 20-05-13-01, “Amending and Restating the Order of

May 6, 2020, Allowing Reopening of Certain Business and Facilities, Subject to Local

Regulation”). The new Order, which supplants the March 30, 2020 Stay-at-Home Order

that was the focus of the defendants’ earlier filing, does three things that affect this case.

       First, the May 13 Order rescinds the requirement that Marylanders remain at home

except when seeking “essential services.” Compare Ex. 12 with ECF 26-6, ¶II.a. The

effect of that aspect of the Governor’s Order is that Marylanders may now leave their

homes and move about for any purpose. This undercuts plaintiffs’ hyperbolic claims that

the Order impermissibly places them under “house arrest.” See, e.g., ECF 32 at 8.
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       Second, the Order removes “spiritual” and “religious” gatherings from the

prohibition on large gatherings and events and allows churches and other religious facilities

to expand their in-person services from no more than 10 people to up to 50% of the

facility’s maximum occupancy. Ex. 12, ¶III.a. The new guidance represents another way

in which the history of these orders demonstrates an effort to reduce burdens on religious

practice, when consistent with public health. Even if, at some later date, the Governor may

find it necessary to re-impose restrictions if public health circumstances require it, ECF 32

at 33, it is premature to consider such a speculative possibility and, in any event, there is

no reason to believe that decision would be animated by anything other than the same

compelling interests and narrow tailoring as the first Order.

       Third, the May 13 Order authorizes local jurisdictions to tailor public health

measures to their specific circumstances. Although the disease can spread wherever people

are in sustained and close contact, that can happen differently, depending on whether one

lives in a densely populated area or in an area that is home to, for example, meat-processing

facilities. See ECF 26-2, ¶¶ 13, 15, 23, 37; see also Ex. 13. The reissued Order allows for

regional variations in public health measures to address those differences as they begin to

emerge.    This aspect of the Order, along with the careful lessening of the Order’s

requirements described above, demonstrate just some of the ways in which the Order

continues to be narrowly tailored to address the current public health threat.

       The May 13 Order alters other aspects of the Stay-at-Home Order, though not in a

way that directly affects this litigation. For example, the Order expands the range of retail

businesses that may open to the general public, subject to the same 50%-capacity


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requirement applicable to religious facilities. Ex. 12, ¶III.b. Manufacturing facilities,

barber shops, and beauty salons may re-open, subject to the same restrictions applicable to

other establishments. Id. ¶III.c., d. To address public health concerns that this type of

relaxation will lead to spikes in the incidence of the virus, see ECF 26-2, ¶37, the Order

authorizes the Secretary of Health and local health officers to issue directives to address

COVID-19 in any of the facilities permitted to re-open. Ex. 12, ¶¶ I.b, I.c.ii, III.g.

       The Order does not affect other aspects of the case. Campgrounds remain open for

business, see id. ¶III.e.iv,; amusement parks remain closed, id. ¶IV.i.iv; and the 10-person

limitation on large gatherings and events remains applicable to the political protests that

the legislator-plaintiffs claim an absolute right to hold and attend, id. ¶II.

       B.     Updated Status of COVID-19 Litigation in Other Jurisdictions

       There are several COVID-related cases underway across the country, as groups

press for the rapid reopening of state economies. As the defendants observed in their initial

brief, the vast majority of those cases have resulted in the denial of preliminary relief along

the lines the plaintiffs seek here. That trend has continued over the last ten days.

              1.      Recent Religious Liberty Decisions Tend to Underscore the
                      Importance of Allowing for Drive-in Services and Other
                      Alternatives to Traditional in-Person Services.

       Since defendants filed their initial response in this matter, at least two more federal

district courts have denied motions to preliminarily enjoin stay-at-home orders on Free

Exercise grounds. See Elim Romanian Pentecostal Church v. Pritzker, No. 20 C 2782,

2020 WL 2468194, at *6 (N.D. Ill. May 13, 2020) (“Plaintiffs’ request for an injunction,

and their blatant refusal to follow the mandates of the Order are both ill-founded and


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selfish.”); Calvary Chapel of Bangor v. Mills, No. 1:20-CV-00156-NT, 2020 WL 2310913

(D. Me. May 9, 2020). In denying a stay pending appeal in Elim Romanian Pentecostal

Church, the Seventh Circuit stated that the 10-person limitation on gatherings in the Illinois

Governor’s Executive Order was a justifiable response to an “extraordinary public health

emergency” and “does not discriminate against religious activities” or “show hostility

toward religion.” Elim Romanian Pentecostal Church v. Pritzker, No. 20-1811 (7th Cir.,

May 16, 2020) (citing Jacobson v. Massachusetts, 197 U.S. 11 (1905), and Employment

Div. v. Smith, 494 U.S. 872 (1990)). The Illinois order’s “temporary numerical restrictions

on public gatherings apply not only to worship services but also to the most comparable

types of secular gatherings, such as concerts, lectures, theatrical performances, or choir

practices, in which groups of people gather together for extended periods, especially where

speech and singing feature prominently and raise risks of transmitting the COVID-19

virus.” Id.

       Conversely, the Sixth Circuit recently granted an injunction pending appeal and

permitted Kentucky churches to conduct in-person religious services of any size so long as

they follow certain social-distancing requirements. See Roberts v. Neace, 2020 WL

2316679 (6th Cir. May 9, 2020). Two other district courts in Kentucky have similarly

granted preliminary relief, see Maryville Baptist Church, Inc. v. Beshear, No. 3:20-CV-

278-DJH-RSE, 2020 WL 2393359 (W.D. Ky. May 8, 2020); Tabernacle Baptist Church,

Inc. of Nicholasville v. Beshear, No. 3:20-CV-00033-GFVT, 2020 WL 2305307 (E.D. Ky.

May 8, 2020), and the Eastern District of North Carolina has preliminarily enjoined that




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State’s order, see Berean Baptist Church v. Cooper, No. 4:20-CV-81-D, ECF 18 (E.D.N.C.

May 16, 2020).

       The new Kentucky decisions continue to distinguish between stay-at-home orders

that completely prohibit in-person religious services, which generally have been enjoined,

and orders that permit limited faith-based gatherings, which generally have not been

enjoined. See ECF 26-1 at 24-28. “Over the last several weeks, the majority of courts . . .

have concluded that a state does not violate the Free Exercise Clause when it limits in-

person religious services to ten people, at least as long as the state permits drive-in

services.” Calvary, 2020 WL 2310913, at *6. The emerging legal consensus thus supports

the denial of preliminary relief here.

       Moreover, there is no reason to believe that the Sixth Circuit, were it faced with

Maryland’s order, would find fault with it. First, the Sixth Circuit repeatedly stated in its

most recent opinion that—even applying strict scrutiny—the State could lawfully address

its concern about the spread of the COVID-19 virus simply by “limit[ing] the number of

people who can attend a service at one time.” Roberts, 2020 WL 2316679, at *5; see also

id. at *4. The Maryland Stay-at-Home Order did this by limiting religious gatherings to

10 or fewer people, and the new Order allows services to 50% of the facility’s capacity.

       Second, the Sixth Circuit observed that the Kentucky order had “serial exceptions”

for some businesses, but not for places of worship, when—as the court believed—both

types of gatherings “pose[d] comparable public health risks.” Roberts, 2020 WL 2316679,

at *3. The Maryland order, by contrast, places fewer restrictions, not more, on religious

organizations than it does on schools, theaters, and other places where people congregate.


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See ECF 26-1 at 20; cf. Calvary, 2020 WL 2310913, at *6 n.13 (noting that the “courts [in

Kentucky] were reviewing a different order than I have before me today”).

       Finally, the governmental defendants in the Kentucky lawsuits apparently failed to

“answer[] [the court’s] concerns that the secular activities permitted by the order pose the

same public-health risks as the kinds of in-person worship barred by the order.” Roberts,

2020 WL 2316679, at *5. Here, by contrast, Dr. Mitchell has explained that any activity

where people congregate for a prolonged period presents a “much greater risk of

transmission” than the more fleeting interactions that occurred in the retail context. See

ECF 26-2, ¶23. And plaintiffs have not attempted to rebut this fact with sworn declarations

by a public-health professional or medical doctor, or even with citations to reputable online

public health sources.

       The circumstances presented by Berean Baptist Church v. Cooper are also

inapplicable here. North Carolina’s order limited indoor religious services to 10 people

“unless impossible,” which left it to local law enforcement to determine what is

“impossible” for each religion’s ecumenical needs, a circumstance that gave the court

“grave concerns” about the orders’ constitutionality. No. 4:20-CV-81-D, ECF 18 at 13.

The court also found the order discriminatory because it allowed funerals of up to 50

people, when the State “conceded that there is no public health rationale for allowing 50

people to gather inside at a funeral, but to limit an indoor religious worship service to no

more than 10 people.” Id. at 14. By contrast, the Maryland order is neutral.1


       1
         The Supreme Court of Wisconsin struck down that State’s stay-at-home order, but
did so because the order was issued through a process that failed to comply with Wisconsin

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              2.         Recent Religious Free Speech and Assembly Decisions
                         Have Denied Preliminary Relief.

       The district court decision in Elim Romanian Pentecostal Church is also notable

because it denied a motion to preliminarily enjoin a stay-at-home order based on the First

Amendment rights of free speech and assembly in addition to on religious liberty grounds.

See Elim Romanian Pentecostal Church, 2020 WL 2468194, at *5. The court concluded

that the order was constitutionally sound under the Jacobson standard and, “even if

Jacobson’s emergency crisis standard does not apply, plaintiffs have failed to show any

likelihood of success under traditional First Amendment analysis.” Id., 2020 WL 2468194,

at *3; see also Henry v. DeSantis, No. 20-CV-80729, 2020 WL 2479447 (S.D. Fla. May

14, 2020) (dismissing challenge for lack of standing but concluding in dicta that Florida’s

COVID-19 executive order was within governor’s emergency-power authority during a

public-health crisis).

       The Eastern District of California reached the same conclusion in Givens v.

Newsom, No. 220CV00852JAMCKD, 2020 WL 2307224 (E.D. Cal. May 8, 2020), in

which the plaintiffs unsuccessfully sought to temporarily restrain the enforcement of the

California stay-at-home order as an infringement of their right to protest after the California

Highway Patrol denied them a permit to hold in-person rallies at the State Capitol. Id. at

*2. In denying plaintiffs’ motion, the district court, reliying on Jacobson, stated that “the

judiciary must afford more deference to officials’ informed efforts to protect all their



administrative law, and therefore its decision is not applicable here. Wisconsin Legislature
v. Palm, No. 2020AP765-OA, 2020 WL 2465677 (Wis. May 13, 2020).


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citizens, especially their most vulnerable, against such a deadly pandemic.” Id. at *4.

Alternatively, the court upheld the California order under traditional First Amendment

analysis because it, like Maryland’s order, was content-neutral, temporary, and did not

“foreclose all channels of communication.” Id. at *5-*6.2

II.    THE EVIDENTIARY SHORTCOMINGS AND LEGAL AND FACTUAL
       INACCURACIES IN PLAINTIFFS’ MEMORANDUM.

       A.     Plaintiffs Continue to Deny the Existence of a Public Health
              Emergency and Yet Offer No Evidence in Support of That
              Unsupportable Position.

       Although the fact that Maryland is in the midst of a once-in-a-century public health

crisis is generally known throughout this jurisdiction, the defendants included with their

initial brief the declaration of Dr. Clifford Mitchell, who has been closely involved in the

monitoring of, and response to, the COVID-19 pandemic here in Maryland. Dr. Mitchell’s

declaration establishes that the outbreak continues to pose a significant threat to the State

of Maryland. See ECF 26-2, ¶¶ 34-36. As plaintiffs appear to concede, Governor Hogan’s

early action successfully “flattened the curve,” but that does not mean that the pandemic is

over here in Maryland. By slowing the rate of infection, those early actions prevented

Maryland’s healthcare system from being overwhelmed in the way that we saw in Italy and

New York City, but hospitals continue to see high numbers of COVID patients and the




       2
        The appeal in Lighthouse Fellowship is unlikely to be decided soon, as the Fourth
Circuit has scheduled appellants’ initial brief for June 15, 2020, Lighthouse Fellowship
Church v. Northam, No. 20-1515, ECF 3 (4th Cir. May 4, 2020), and, as of May 17, 2020,
no party had requested expedited review or an injunction pending appeal.


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deaths continue to exceed normal numbers. See ECF 26-2, ¶¶ 33-34; see also Md. Dep’t

of Health, Coronavirus, https://coronavirus.maryland.gov/ (last viewed May 18, 2020).

       Plaintiffs deny all this. They assert, incorrectly, that COVID-19, “[a]s the name

suggests, . . . is the 19th coronavirus identified to date,” ECF 32 at 13, but the 19 refers to

the year it was first identified, see ECF 26-2, ¶5, not that it is the 19th such disease, as if

that would suggest it is nothing unusual. Plaintiffs also assert that other causes of death

eclipse the loss of life from the current crisis, see ECF 32 at 5, and they take issue with the

models used by the CDC and the Maryland Department of Health, id. at 6, but they offer

no evidence to back up these assertions and nothing to rebut Dr. Mitchell’s declaration,

which forms the only factual record on which to decide the motion for preliminary relief.

       Plaintiffs also reject the use of data and projections from outside of Maryland to

support the Governor’s renewed proclamation of a state of emergency and the existence of

a catastrophic health emergency. See ECF 32 at 6. But, as Dr. Mitchell explained, the

virus does not respect jurisdictional boundaries; the first three cases in Maryland were

travel-related, and the virus spread rapidly within Maryland after their confirmation. ECF

26-2 ¶33. Furthermore, it is beyond dispute that the COVID-19 disease first appeared in

China and has since spread throughout the world, with 4,556,274 reported cases and

307,248 reported deaths worldwide as of May 16, 2020. See Coronavirus, Wash. Post,

https://www.washingtonpost.com/coronavirus/ (last viewed May 16, 2020). Of those

numbers, 1,436,213 cases and 86,651 deaths have occurred in the United States. Id. There

is nothing in the Governor’s emergency powers authority to suggest that he must wear

blinders when evaluating the public health risk to Marylanders.


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       Plaintiffs also claim that only residents of the large Maryland political subdivisions

are at risk, and that people in the more rural districts are not at risk. See ECF 32 at 7.

Again, plaintiffs offer no support for that proposition, and it is demonstrably not true. The

data, widely available through the Washington Post website cited above, demonstrate that

Kent County, Maryland’s smallest, has the highest death rate per 100,000 residents and

that Charles and Carroll counties have the fourth and fifth highest death rates. See Ex. 13.3

Similarly, Wicomico and Kent counties have the second and fourth highest rates of

infection in the State, with Caroline, Frederick, and Charles counties joining them in the

top 10. Id. Quite simply, residents in all parts of Maryland are at risk of being infected

with COVID-19 and at risk of dying from that infection. See also ECF 26-2, ¶37.

       B.     The Anecdotal and Hearsay Evidence That Plaintiffs Offer Does
              Not Establish a Policy or Practice of Discriminatory Enforcement.

       While they deny the existence of a public health emergency without any basis in

fact, the plaintiffs rely exclusively on anecdote and hearsay to support their assertion that

the order is being discriminatorily enforced against religious institutions, political

protesters, and non-essential businesses. ECF 32 at 24, 35, 39. That police cars are seen

driving near a church, id. 31, or near a political rally, id. 37, does not establish

discriminatory enforcement any more than does an out-of-court statement that the

Governor is rumored to believe that this lawsuit is frivolous and worthy of professional



       3
         The Maryland Department of Health’s COVID-19 dashboard has daily updates on
the number of COVID-related deaths by county, which, when compared to publicly
available population data, can be used to derive these same figures. See
https://coronavirus.maryland.gov/.


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sanction, see ECF 21, ¶11. By contrast, the only admissible evidence about the State

Police’s enforcement policy—the declarations of Maj. Dofflemyer and Sgt. Nelson, ECF

26-3, 26-4—is unrebutted. That evidence establishes that, while the State Police troopers

do visit churches and businesses to advise them of the Governor’s order and to educate

them about the public health benefits of avoiding large gatherings, there is no policy of

targeting churches, political rallies, or any other gathering or business for enforcement.

       C.     The Governor’s Order Does Not Implicate Due Process
              Protections with Respect to Quarantine Decisions.

       The plaintiffs argue in their memorandum that the requirement that Marylanders

stay at home except when seeking “essential services”—a requirement that was rescinded

with the issuance of the Governor’s on May 13 Order, see Ex. 12—qualified as a form of

“quarantine” that, under the relevant statutes, must be implemented in accordance with

certain procedural requirements. See ECF 32 at 8, 13, 40-41. Not so.

       Section 14-3A-03 of the Public Safety Article sets forth the Governor’s power to

issue orders after proclaiming a catastrophic health emergency. That provision sets forth

three categories of orders. The first, set forth in paragraph (b), governs the acquisition and

rationing of the facilities and material needed to treat an outbreak, see (b)(1), (2), the

issuance of orders requiring individuals to submit to testing or treatment, (b)(3)(i), (ii), and,

relevant here, the establishing of “places of treatment, isolation, and quarantine” and

requiring individuals “to go to and remain in places of isolation or quarantine” until they

no longer pose a threat to the public, (b)(3)(iii), (iv). The second, set forth in paragraph

(c), authorizes the Governor to order any health care provider to join in surveillance,



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treatment, and suppression efforts. And the last, also relevant here, is paragraph (d), which

authorizes the Governor to “order the evacuation, closing, or decontamination of any

facility” and to “order individuals to remain indoors or refrain from congregating.”

       The quarantine provisions of paragraph (b) are limited to a situation in which a

person refuses to comply with an order under § 14-3A-03(b)(3) to submit to vaccination,

medical examination, treatment, or testing. Pub. Safety § 14-3A-04. As plaintiffs point

out, the decision to place someone in quarantine triggers certain due process rights,

including the right to a hearing in circuit court to contest the order. See id., § 14-3A-05(c).

But those rights are implicated by an isolation or quarantine order issued under § 14-3A-

03(b)(3), see id. § 14-3A-05(c)(1), not an order requiring individuals “to remain indoors or

refrain from congregating,” which is issued under § 14-3A-03(d). But that is exactly what

the Governor’s order is: It required individuals “to remain indoors” in their own homes,

not to “go to” a “place of isolation and quarantine.” They are two different types of orders

under the statute, and the due process protections that plaintiffs describe apply to the latter

and not the former.

III.   THE GOVERNOR’S ORDER DOES NOT VIOLATE THE FIRST AMENDMENT.

       Plaintiffs continue to claim that the Governor’s order violates several aspects of the

First Amendment, but they have not grounded any of those claims in fact or in law.

Factually, it is not true that measures like these have never, “in the history of this country,”

been necessary to combat a public health crisis. See ECF 32 at 13. Putting aside the

obvious fact that most States have put in place similar measures this year, restrictions on

religious gatherings and other traditional places of assembly, such as theaters, concerts,


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and schools, are a common tool for addressing public health crises, including the influenza

pandemic in the early 20th Century that plaintiffs identify. See, e.g., Epidemic Situation

Grave; Blake Forbids Services in Churches by Latest Order, Balt. Am., Oct. 11, 1918, at

14 (with deaths in low hundreds, Baltimore City banned churches, poolrooms, and

cancelling all public assemblies and parades)4; cf. ECF 32 at 13. Temporary restrictions

on gatherings are a necessary and focused response to a public health threat that—even

with social-distancing measures in place to “flatten the curve”—still claims dozens of lives

each day. See https://coronavirus.maryland.gov/.

       Nor do plaintiffs explain how the March 30 Order, which restricted all gatherings

to no more than 10 persons, is not neutral. The prohibition on gatherings does not have

exceptions and does not distinguish between “essential” and “non-essential” gatherings.

All gatherings are restricted equally. Yes, some retail businesses were allowed to remain

open without restriction to the number of customers, but retail businesses do not pose the

same public health risk that sustained gatherings do. As Dr. Mitchell explains, the risk of

viral transmission is “much greater” when people gather together in one place for a




       4
        This and other articles describing Maryland’s response to the 1918 flu pandemic
can be found at the online “Influenza Encyclopedia” maintained by the University of
Michigan and available at http://www.influenzaarchive.org/. See, e.g., Flu Ban in Queen
Anne’s, Balt. Sun, Jan. 13, 1919, at 5, http://hdl.handle.net/2027/spo.5870flu.0000.785
(schools, churches, and amusement places were closed while stores were subject to reduced
hours); Worcester “Flu” Abating, Balt. Sun, Jan. 16, 1919, at 7, http://hdl.handle.net/
2027/spo.8570flu.0000.758 (schools and churches closed for approximately a month);
Influenza Decreasing, Balt. Sun, Jan. 26, 1919, at 15, http://hdl.handle.net/2027/
spo.6770flu.0000.776 (schools, churches, theaters, moving picture shows, and other places
where people congregate still closed in Easton after improvement).


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prolonged period of time, as opposed to when they pass each other in the aisle of a retail

establishment. ECF 26-2, ¶23. Plaintiffs offer no explanation, and certainly no evidence,

to the contrary.

       Plaintiffs also offer no factual support for their assertion that the Governor’s order

“hardly regulat[es] the hundreds of stores and businesses he has left open.” ECF 32 at 33.

Even if that estimate were accurate, hundreds more stores and businesses have been

required to close or reduce their operations in ways that religious institutions have not.

And the workplaces that have been allowed to operate continue to have to meet additional

obligations and satisfy local health authorities to operate safely. See Order No. 20-04-05-

02, “Delegating Authority to Local Health Officials to Control and Close Unsafe

Facilities.” As discussed above, the distinctions drawn by the Order are rational and

narrowly tailored to address the evolving public health risks presented by each activity.

       As for their legislator claims, plaintiffs appear to contend that legislators possess

heightened First Amendment rights outside of the floor of the legislature, and that the

orders at issue here violate their “absolute right . . . to exercise their constitutional offices.”

ECF 32 at 39. Again, not so. Although legislators do have special rights when speaking

on the floor of the General Assembly, see Blondes v. State, 16 Md. App. 165, 175 (1972)

(discussing Maryland’s “legislative privilege” from prosecution and suit), their free speech

rights outside the legislature are the same as other citizens’ and are subject to the same

content-neutral time, place, and manner restrictions that may apply. See ECF 26-1 at 31-

36. With respect to exercising their offices in the sense of gathering as a legislative body,

the Governor’s orders are not the reason the legislators are not currently sitting in session


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in Annapolis. The House of Delegates and Senate adjourned, on their own initiative, on

March 18, 2020, and legislative leadership determined not to hold a special session for

health reasons. See Bryan Renbaum, General Assembly Leaders Postpone May Special

Session, MarylandReporter.com (Apr. 20, 2020), https://marylandreporter.com/2020/

04/20/general-assembly-leaders-postpone-may-special-session/.

       In terms of legal sufficiency, the plaintiffs’ arguments do nothing to disturb the

conclusion that the Maryland Orders are a constitutionally appropriate response to a public

health emergency. Plaintiffs’ only response to Jacobson is that the Governor’s powers are

limited to the “necessity of the case” and that, because there actually is no public health

emergency in Maryland, the Governor must have overstepped his bounds. See, e.g., ECF

1, ¶¶ 51, 52; ECF 32 at 5-7.5 But because the plaintiffs, as discussed above, offer no

evidence in support of their head-in-the-sands denial of the continuing crisis, their legal

argument that Jacobson does not control must also fail.

       But even if plaintiffs were correct that Jacobson did not apply here, the Governor’s

orders would still pass constitutional muster as a reasonable, content-neutral restriction on

the time, place, and manner of speech. As the defendants explained in their initial brief,

the restriction on gatherings is (1) content neutral; (2) “‘narrowly tailored to serve a



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         Plaintiffs also cite Kenly v. Huntingdon Building Ass’n, 166 Md. 182 (1934), for
the proposition that the statutes conferring on the Governor emergency powers violate
Article 44 of the Maryland Declaration of Rights, but they cite to a concurring opinion of
only one member of the Court of Appeals of Maryland, and in a case that has nothing to
do with public health emergencies. No decision of the Court of Appeals has ever construed
Article 44, much less applied it to invalidate the critical public health emergency powers
that the General Assembly has conferred on the Governor here.


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significant governmental interest’”; and (3) “‘leave[s] open ample alternative channels for

communication of the information.’” ECF 26-1 at 30-32 (quoting Ward v. Rock Against

Racism, 491 U.S. 781, 791 (1989)).

       Finally, the Governor’s order would survive strict scrutiny even if that more

exacting standard applied. Although “‘it is the rare case’ in which a State demonstrates

that a speech restriction is narrowly tailored to serve a compelling interest . . . those cases

do arise.” Williams-Yulee v. Florida Bar, 575 U.S. 433, 444 (2015) (citation omitted).

Recently, the Supreme Court has found compelling a State’s interest in “preserving public

confidence in the integrity of the judiciary,” id., and “safeguard[ing]” schoolchildren “from

speech that can reasonably be regarded as encouraging illegal drug use,” Morse v.

Frederick, 551 U.S. 393, 397 (2007). A government’s desire to “protect” “the safety of its

members” against “an epidemic of disease,” Jacobson, 197 U.S. at 27, is a compelling

interest of even greater magnitude. See In re Abbott, 954 F.3d 772, 778 (5th Cir. 2020)

(noting “state’s critical interest in protecting the public health”).

       As for narrow tailoring, it too is a demanding standard, but is met here. There is

“no ‘less restrictive alternative’,” Central Radio Co. v. City of Norfolk, 811 F.3d 625, 633

(4th Cir. 2016) (quoting United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 813

(2000)), available to the State to control this pandemic. COVID-19 has no cure and no

vaccine, and the only way to stop the spread of this highly contagious and lethal virus is to

minimize interpersonal contact through social distancing measures. ECF 26-2, ¶10.

Unlike the orders invalidated on Free Exercise grounds elsewhere, the Maryland Order—




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particularly in its current form—leaves open multiple options to gather in worship while

minimizing the risk of viral transmission.

       Nor are the orders over-inclusive or under-inclusive. That is, the public health also

requires that the food, shelter, and security needs of the population be met. Using the

federal government’s designation of “critical infrastructure” to identify the “essential

businesses” that provide those needs, see Ex. 12, ¶IV.h., is a narrowly tailored approach to

ensuring that the 10-person limit on gatherings maximizes protection of public health.

Further evidence of narrow tailoring is that the orders have already been relaxed, as the

Governor’s May 13 Order most recently demonstrates. See Grutter v. Bollinger, 539 U.S.

306, 342 (2003) (regulation aimed at eliminating discrimination must be “limited in time”

where regulation should, over time, eliminate the compelling interest).

IV.    THE GOVERNOR’S ORDER DOES NOT VIOLATE THE DORMANT
       COMMERCE CLAUSE.

       Plaintiffs’ analysis of the dormant Commerce Clause suffers from several flaws,

three of which merit special attention.6 First, plaintiffs adhere to their position that

Congress’s power to regulate interstate commerce is exclusive, when the Supreme Court

has made clear that, “[a]lthough the commerce clause conferred on the national government

power to regulate commerce, its possession of the power does not exclude all state power

of regulation.” Southern Pac. Co. v. Arizona ex rel. Sullivan, 325 U.S. 761, 766 (1945).

To the contrary, “‘the States retain authority under their general police powers to regulate



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         Plaintiffs offer no argument in support of their takings claims, which, as discussed
in the defendants’ initial brief, fail on several grounds. See ECF 26-1 at 38-44.


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matters of legitimate local concern, even though interstate commerce may be affected.’”

Maine v. Taylor, 477 U.S. 131, 138 (1986) (citations omitted).

       Second, plaintiffs assert that Adventure Park USA engages in interstate commerce,

but “that the burden of a state regulation falls on some interstate companies does not, by

itself, establish a claim of discrimination against interstate commerce.” Exxon Corp. v.

Governor of Md., 437 U.S. 117, 126 (1978).

       Finally, plaintiffs ignore entirely that modern dormant Commerce Clause

jurisprudence “is driven by concern about ‘economic protectionism—that is, regulatory

measures designed to benefit in-state economic interests by burdening out-of-state

competitors.’” Department of Revenue of Ky. v. Davis, 553 U.S. 328, 337-38 (2008)

(citation omitted). Although there is no allegation here that the Orders favor Maryland

businesses over out-of-state competitors, state enactments, like this one, that are “justified

by the threat of death or disease” are upheld even under the Court’s “tier one” analysis,

which applies where a state law discriminates against interstate commerce, and which is

otherwise “‘a virtually per se rule of invalidity.’” Environmental Tech. Council v. Sierra

Club, 98 F.3d 774, 785 (4th Cir. 1996) (citation omitted).

       Plaintiffs are correct that—if Jacobson did not control here—their dormant

Commerce Clause claim would ultimately be governed by the balancing test set forth in

Pike v. Bruce Church, Inc., 397 U.S. 137 (1970). See ECF 32 at 21-22. Under that test, “a

court must uphold the challenged law if it ‘regulates even-handedly to effectuate a

legitimate local public interest . . . unless the burden imposed on such commerce is clearly

excessive in relation to the putative local benefits.’” Just Puppies, Inc. v. Frosh, No. CV


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ELH-19-2439, 2020 WL 607026, at *20 (D. Md. Feb. 7, 2020) (quoting Pike, 397 U.S. at

14). “‘[O]nly a small number of cases’ have invalidated a law under Pike balancing,” and

those cases “generally involved” regulation of “inherently national” activities, “such as

interstate transportation.” Id. at *27 (quoting National Ass’n of Optometrists & Opticians

v. Harris, 682 F.3d 1144, 1148 (9th Cir. 2012)). In Pike, the Court struck down an Arizona

prohibition on transporting cantaloupes grown in Arizona for packaging in another State

because “the State’s tenuous interest in having the company’s cantaloupes identified as

originating in Arizona cannot constitutionally justify the requirement that the company

build and operate an unneeded $200,000 packing plant in the State.” 397 U.S. at 145. That

does not remotely describe the requirement that Adventure Park USA close to stop the

spread of the virus. Moreover, the economic burden that must “clearly” outweigh the

gubernatorial order’s important public health benefits is the burden on the “the flow of

interstate commerce” and not the burden on a particular business. Brown v. Hovatter, 561

F.3d 357, 364 (4th Cir. 2009) (emphasis in Brown). The “Clause protects the interstate

market, not particular interstate firms, from prohibitive or burdensome regulations.”

Exxon, 437 U.S. at 127-28.

      The burdens that plaintiffs describe are not burdens on the flow of interstate

commerce, but the burden on a business, which—like most everyone else—is suffering

economically during the current crisis. “These are not burdens for Commerce Clause

purposes.” Just Puppies, 2020 WL 607026, at *27. And plaintiffs offer nothing to suggest

that the burden on that business—even if it properly implicated the Pike balancing test—

“clearly” outweighs the public health benefits of the Governor’s order, the evidence of


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which is unrebutted by plaintiffs. With a burden that is not legally cognizable, and no

evidence calling into question the important public health benefits on the other side of the

ledger, plaintiffs’ dormant Commerce Clause claim is so deficient that it falls comfortably

within that category of cases that require dismissal under Pike balancing. See id., at *21.

                                     CONCLUSION

       The plaintiffs’ motion for a temporary restraining order should be denied.

                                                 Respectfully submitted,

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